

ORDER

PER CURIAM:
AND NOW, this 20th day of April, 1994, upon consideration of the Report and Recommendations of the Disciplinary Board dated November 23, 1993, it is hereby
ORDERED that William B. Guffey, Jr., be and he is suspended from the Bar of this Commonwealth for a period of one year and one day commencing April 10, 1993, and he shall comply with all the provisions of Rule 217, Pa.R.D.E. It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa. R.D.E.
Mr. Justice Frank J. MONTEMURO is sitting by designation as Senior Justice pursuant to Judicial Assignment Docket No. 94 R1800, due to the unavailability of Mr. Justice Rolf LARSEN, see No. 127 Judicial Administration Docket No. 1, filed October 28, 1993.
